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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                          :
IN RE: NATIONAL FOOTBALL                  :       No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION                :
INJURY LITIGATION                         :       MDL No. 2323
                                          :
                                          :
THIS DOCUMENT RELATES TO:                 :
Plaintiffs’ Amended Master Administrative :
Long-Form Complaint and the Applicable :
Short-Form Complaints                     :
                                           :


                                  [PROPOSED] ORDER


       AND NOW, upon consideration of the Motion by Defendants National Football League

and NFL Properties LLC to Dismiss the Amended Master Administrative Long-Form

Complaint on Preemption Grounds (ECF No. 3589), Plaintiffs’ response in opposition thereto,

and Defendants’ reply, it is hereby ORDERED that for the reasons set forth in the

accompanying Memorandum Opinion, the Motion is DENIED.


      It is so ORDERED.


                                                  Anita B. Brody

______________________________                    __________________________
            Date                                  United States District Judge


Copies VIA ECF on ___________to:                  Copies MAILED on ________ to:
